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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                    8:09CR3

      vs.                                               MEMORANDUM AND ORDER

ANTONIO FRAUSTO,

                     Defendant.


       This matter is before the court on defendant’s motion to appeal in forma

pauperis, Filing No. 240, and motion for a certificate of appealability, Filing No. 242.

The court notes that the defendant has proceeded in forma pauperis to date and will

grant the motion. The defendant filed a motion to vacate under 28 U.S.C. § 2255.

Filing No. 226. This court found the motion meritless. Filing No. 237. Defendant now

moves the court to grant him a certificate of appealability.

       Before the defendant may appeal the denial of his § 2255 motion, a “Certificate

of Appealability” must issue. Pursuant to the Antiterrorism and Effective Death Penalty

Act of 1996 (“AEDPA”), the right to appeal the denial of a § 2255 motion is governed by

the certificate of appealability requirements of 28 U.S.C. § 2253(c).            28 U.S.C.

§ 2253(c)(2) provides that a certificate of appealability may issue only if the applicant

has made a substantial showing of the denial of a constitutional right:

       (c)(1) Unless a circuit justice or judge issues a certificate of appealability,
       an appeal may not be taken to the court of appeals from–
              ....
              (B) the final order in a proceeding under section 2255.
       (2) A certificate of appealability may issue under paragraph (1) only if the
       applicant has made a substantial showing of the denial of a constitutional
       right.
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       (3) The certificate of appealability under paragraph (1) shall indicate
       which specific issue or issues satisfy the showing required by
       paragraph (2).

28 U.S.C. § 2253(c).

       A “substantial showing of the denial of a federal right” requires a demonstration

“that reasonable jurists could debate whether (or, for that matter, agree that) the petition

should have been resolved in a different manner or that the issues presented were

adequate to deserve encouragement to proceed further.” Slack v. McDaniel, 120 S. Ct.

1595, 1603-1604 (2000), citing Barefoot v. Estelle, 103 S. Ct. 3383, 3394 (1983) (which

defined the former standard for a certificate of probable cause to appeal) (internal

quotation marks omitted). “Where a district court has rejected the constitutional claims

on the merits, the showing required to satisfy § 2253(c) is straightforward:           The

defendant must demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong.” Slack, 120 S. Ct. at 1604.

       Upon review and consideration of the record and the applicable law, the court

concludes that the defendant has failed to demonstrate that reasonable jurists would

find this court’s ruling debatable or wrong. Therefore, for the reasons stated in the

Memorandum and Order denying defendants § 2255 motion, Filing No. 242, a certificate

of appealability will not issue.

       IT IS ORDERED:

       1. That a certificate of appealability pursuant to the notice of appeal, Filing No.

242, is denied.




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      2.   The defendant’s motion to proceed in forma pauperis, Filing No. 240, is

granted.

      3. That the Clerk of Court shall provide a copy of this Memorandum and Order

to the Eighth Circuit Court of Appeals.

      4. That a copy of this Memorandum and Order shall be mailed to the defendant

at his last known address.

      Dated this 5th day of February, 2013.

                                               BY THE COURT:


                                               s/ Joseph F. Bataillon
                                               United States District Judge




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